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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              GREENVILLE DIVISION


 Hickory Tavern Church of God,                             C/A#: 6:19-cv-00870-JD

                         Plaintiff,
                                                    STIPULATION OF DISMISSAL
        vs.                                              WITH PREJUDICE
 Church Mutual Insurance Company,

                         Defendant.


       It hereby is stipulated by and between plaintiff Hickory Tavern Church of God and

defendant Church Mutual Insurance Company, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, that this action be dismissed with prejudice. Each party

shall be responsible for its own costs incurred in this action.

       Respectfully submitted this 29th day of November 2021.

WE SO CONSENT:                                       WE SO CONSENT:


s/Douglas A. Churdar                                 s/John E. Cuttino
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